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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
 JJD:JLG                                              271 Cadman Plaza East
 F. #2020R00632                                       Brooklyn, New York 11201



                                                      May 29, 2025


 The Honorable Joan M. Azrack
 United States District Judge
 United States District Court
 Eastern District of New York
 100 Federal Plaza
 Central Islip, New York 11722

                Re:     United States v. Vladimir Antonio Arevalo-Chavez
                        Criminal Docket No. 22-429 (JMA)

 Dear Judge Azrack:

                The government respectfully submits this letter in response to the Court’s May 22,
 2025 order to show cause.

                 As the Court and counsel are aware, the government had sought the sealing of
 certain filings made in connection with its motion to dismiss, in an abundance of caution, in order
 to protect the integrity of the foreign prosecutions against this defendant, which are pending in El
 Salvador. 1 The government has since conferred with the Department of Justice’s Office of
 International Affairs (“OIA”), which, in turn, sought guidance from La Fiscalía General de La
 República de El Salvador (the El Salvador Attorney General’s Office) (“FGR”), and informed the
 government of the following:

               Regarding ECF Dkt. No. 170. The Salvadoran arrest warrants and charges listed
 in the government’s April 30, 2025 letter (ECF Dkt. No. 170) are, in fact, not under seal in El
 Salvador. Further, the fact that an INTERPOL Red Notice was issued, and remains active, for the




        1
                 The government had, during and around the time of these filings, sought clarity
 from, inter alia, the U.S. Embassy in San Salvador and the Federal Bureau of Investigation’s
 Legal Attaché and Transnational Anti-Gang Task Force, as to whether the Salvadoran arrest
 warrants and charges had been filed under seal, but had not received a definitive answer until
 earlier today, which is detailed below.
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 defendant’s arrest, as noted in the letter, is public. 2 Therefore, the government has no objection at
 this time to the unsealing of its letter filed as docket number 170.

                 Regarding ECF Dkt. No. 173. The Salvadoran arrest warrants and charges listed
 in the government’s May 14, 2025 letter (ECF Dkt. No. 173), and which were attached thereto as
 Exhibits B and C, are also not under seal in El Salvador. Therefore, the government has no
 objection at this time to the unsealing of its letter filed as docket number 173. However, based on
 the standard practice in this district, because Exhibits B and C contain personally identifiable
 information (“PII”) – including dates of birth, Salvadoran national identity card numbers, 3 and full
 names of parents and significant others – for not only the defendant but also for a number of other
 individuals, the government respectfully requests that the Court maintain those two exhibits under
 seal. Attached hereto as Exhibits 2 and 3 are the government’s proposed redactions to Exhibits B
 and C, respectively, which remove the PII and which may appropriately be filed publicly. Finally,
 docket number 173 also attached as Exhibit A the INTERPOL Red Notice for the defendant.
 According to the United States National Central Bureau (“USNCB”), the American branch of
 INTERPOL, this document is law enforcement sensitive, and only the extract found on the
 INTERPOL website is public (as noted above). Therefore, the government respectfully requests
 that Exhibit A be maintained under seal.

                Regarding ECF Dkt. No. 174. The government has no objection at this time to
 the unsealing of the May 14, 2025 letter from defense counsel, which describes Exhibits B and C
 (discussed above). 4

                  Regarding ECF Dkt. No. 175. The government’s May 20, 2025 letter (ECF Dkt.
 No. 175) provided certified English-language translations of Exhibits A, B and C, described above.
 For the reasons set forth above, the government has no objection at this time to the unsealing of its
 letter filed as docket number 175. However, the government respectfully requests the continued
 sealing of the English-language translation of the Red Notice (Exhibit A), and of Exhibits B and
 C, which contain PII for the defendant and others. Attached hereto as Exhibits 4 and 5 are the
 government’s proposed redactions to Exhibits B and C, respectively, which remove the PII and
 which may appropriately be filed publicly.




        2
                The publicly-available extract of the INTERPOL Red Notice is attached hereto as
 Exhibit 1. This bare-bones document differs substantially from the actual Red Notice itself,
 which is discussed further herein. The government has no objection to the public filing of this
 extract.
        3
                Documento Único de Identidad (“DUI”).
        4
               In this letter, however, counsel for the defendant requests that the Court not file
 Spanish-language documents, which, of course, Exhibits B and C are.


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                Finally, the government respectfully reiterates its request for the Court to dismiss
 the indictment against the defendant without prejudice forthwith.

                                                      Respectfully submitted,

                                                      JOSEPH NOCELLA, JR.
                                                      United States Attorney

                                              By:             /s/
                                                      John J. Durham
                                                      Assistant United States Attorney
                                                      (631) 715-7900


 Enclosures

 cc:    Louis M. Freeman, Esq. (by email)
        Thomas H. Nooter, Esq. (by email)




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